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                     IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

                                                      §
                                                      §
   In re:                                             §      Chapter 11
                                                      §      Case No. 24-10119-smr
   1001 WL, LLC                                       §
                                                      §
   Debtor                                             §



    INTERIM ORDER GRANTING DEBTOR’S CORRECTED MOTION FOR USE OF
        CASH COLLATERAL, AND GRANTING ADEQUATE PROTECTION

            Came on for consideration this __ day of March, 2024, the interim hearing on the

 Corrected Motion for Use of Cash Collateral [Dkt. #__] (the “Motion”) filed by Debtor

 1001 WL, LLC (the “Debtor”). The Court, having considered the Motion finds that the

 Motion should be granted as set forth herein.

            IT IS THEREFORE FOUND, DETERMINED, ORDERED, ADJUDGED AND

 DECREED AS FOLLOWS:

       1.         The Motion is granted as set forth herein on an interim basis.
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      2.        Limited Authorization to Use Cash Collateral. The Debtor is hereby authorized,

 through March 31, 2024, to use cash collateral for the actual and necessary expenses of the estate

 as set forth in the Budget attached hereto as Exhibit A. The Debtor’s use of cash collateral as

 authorized herein shall be strictly limited to the expenditures in the Budget, subject to a variance

 of up to ten percent (10%) per month for any line item and a maximum aggregate monthly variance

 of ten percent (10%).

      3.        Presumption. All cash in the possession of the Debtor (including all cash on hand

 and received in the future) is presumed to be cash collateral, unless proven otherwise by a

 preponderance of the evidence.

      4.        Adequate Protection: Replacement Liens. As adequate protection from any

 diminution in the value of collateral held by parties with interests in cash collateral (Secured

 Creditors) resulting from Debtor’s use of cash collateral from and after the Petition Date, the

 Secured Creditors are hereby granted the following liens and security interests:

                         (a)    Continuing, additional and replacement liens and first priority

 security interests in, to and against any and all assets and property of the Debtor of the same kind

 as the Secured Creditors’ prepetition collateral to the same extent priority and validity as the pre-

 petition liens held by such creditors (including but not limited to cash collateral), including, but

 not limited to, all cash, wherever located, in which the Debtor now has or may hereafter acquire

 any right, title or interest in, including any funds on deposit; documents of title evidencing or

 issued with respect thereto; accounts; contract rights; deposits; chattel paper; documents; records;

 equipment; fixtures; general intangibles instruments; inventory; investment property; financial

 assets and any and all other personal property and real property of the Debtor along with all
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 proceeds and products of the foregoing; all as may be generated or acquired by the Debtor after

 the petition date.

                 The collateral described in this Paragraph is hereinafter referred to as the

 “Replacement Collateral.”

       5.        Non-Exclusive Rights. The rights and obligations of the Debtor and the rights

 claims, security interests, liens and priorities of the Secured Creditors arising under this Order, are

 in addition to, and not in lieu or substitution of, the rights, obligations, claims, security interests,

 liens and priorities granted under the Secured Creditors’ loan documents. The liens described in

 the immediately preceding paragraph are granted pursuant to 11 U. S. C. §§ 361, 362, and 363.

       6.        Validity and Automatic Perfection. Any and all liens and security interests

 granted pursuant to this Order shall be deemed effective, valid and perfected as of the date of the

 entry of this Order without the necessity of the filing or lodging by or with any entity of any

 documents or instruments otherwise required to be filed or lodged under applicable non-

 bankruptcy law. This Order shall be deemed to be a security agreement for purposes of creation,

 attachment and perfection of Secured Creditors’ liens on and security interests in, to and against

 the Replacement Collateral. Said liens and security interests shall be valid and perfected as against,

 and binding upon, the Debtor and its successors, including any trustee, receiver or similar

 successor, in this or any subsequent case under the Bankruptcy Code or in any insolvency or

 similar case or proceeding, and also upon any creditor of the Debtor who may have extended or

 may hereafter extend credit to the Debtor, or who may assert a claim in this or any subsequent case

 or proceeding, whether or not notice of this Order or this case has been filed in any place or with

 any person, including any official of any governmental jurisdiction within which the Debtor’s

 property is located, whether municipal, county, state, or federal.
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      7.        Termination of Authority to Use Cash Collateral. The authority to use cash

 collateral shall continue up through and including March 31, 2024 unless sooner terminated or

 extended by the Court. Authorization to use cash collateral shall terminate if this case is converted

 to one under Chapter 7. To the extent the Secured Creditor agrees in writing to extend the term of

 this Order, such term shall be extended as provided in such writing without further order, notice

 or hearing. Notwithstanding any termination of the right to use the Cash Collateral as set forth

 herein, the obligations of the Debtor and the rights, claims, security interests, liens and priorities

 of the Bank with respect to all transactions occurring prior to the termination of the Debtor’s

 authority to use the cash collateral shall remain unimpaired and unaffected by any such termination

 and shall survive any such termination.

      8.        The Debtor’s use of cash collateral prior to the filing of this motion is ratified and

 authorized.

      9.        Insurance. The Debtor shall at all times maintain: (a) insurance on its assets as

 required under the Debtor’s loan documents with the Secured Creditors; and (b) any additional

 insurance coverages that may be required by law or by the United States Trustee.

     10.        Debtor shall file a proposed final cash collateral order and budget on or before

 March __, 2024.

     11.        The Court shall conduct a final hearing on the motion for use of cash collateral on

 March __, 2024.

     12.        Any objection to the final cash collateral order shall be filed by March __, 2024.

                                                  ###
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 Order Submitted By:

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   1001 W Loop S                             Case Number:
   Cash Collateral Budget

                               Pro Forma            Mar-24

Income                        $   150,975       $      150,975

Operating Expenses
   Fire Safety                $     3,441       $        3,441
   Repairs & Maintenance      $    15,009       $       15,009
   Security                   $     3,933       $        3,933
   Cleaning & Maintenance     $    22,125       $       22,125
   Utilities                  $    48,000       $       48,000
   Insurance                  $    43,508       $       43,508
   Telephone & Internet       $     1,060       $        1,060
   Other Expense              $     3,300       $        3,300
   Professional Fees          $     1,000       $        1,000
   Licenses & Permits         $       -         $          -
   Tenant Improvement         $       -         $          -
   Administration             $    14,750       $       14,750
Total Operating Expenses      $   156,126       $      156,126

Net Cashflow                  $    (5,151)      $       (5,151)

Cumulative Cashflow                             $       (5,151)
